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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                               Case No. 22-mj-8338-BER


 IN RE:
 SEALED SEARCH WARRANT
 __________________________/

                         RESPONSE TO MOTION TO UNSEAL

       The undersigned Assistant United States Attorney hereby respectfully requests

 that this Court deny the letter motion filed by the Times Union of Albany, New York to

 unseal the warrant in this matter (DE 4). The letter motion seeks unsealing of records

 relating to the search of the residence of former President Donald J. Trump in Palm

 Beach, Florida, and references two case numbers. The government has already moved

 to unseal materials related to the warrant involving the residence of former President

 Trump under case number 22-mj-8332. The above captioned warrant, case number 22-

 mj-8338, concerns an ongoing investigation that is completely unrelated to the subject

 matter of the other warrant and the letter motion to unseal. Accordingly, this warrant

 should remain sealed and the letter motion denied in this case.

                                         Respectfully submitted,

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                                         UNITED STATES ATTORNEY

                                   BY:   _____________________________
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